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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                              Criminal Action No. 1:21-cr-0112 (CJN)

DAVID CHARLES MISH, JR.,

              Defendant.


                                             ORDER

       This matter is before the Court on Defendant’s Motion for an Extension of Time to Self-

Surrender, ECF No. 45.

       On November 18, 2021, the Court sentenced David Charles Mish, Jr., to 30 days

incarceration, $500 in restitution, and a $10 special assessment, but allowed him to remain on

release and to self-surrender. ECF No. 43. Mish has since been advised that he must report to a

facility in Illinois by January 12, 2022 to serve his term of incarceration. He requests an extension

to his time to self-surrender until April 1, 2022, to allow him to complete his seasonal employment

doing snow removal. ECF No. 45.

       The Government opposes the extension of time, arguing that the delay in reporting “merely

delays” the economic impact of incarceration to Mish. ECF No. 46. The Government also notes

that Mish’s income is not “entirely reliant” on providing snow removal services. Id. The

Government did not seek Mish’s immediate surrender at sentencing, nor does it argue that Mish

poses a danger to the community or that he is unlikely to self-surrender in the future.

       While it is a close call, the Court believes that the § 3553(a) factors support Defendant’s

request for an extension of time. As the Court noted at sentencing, the Court believes Mish could

benefit from longer-term contact with the court system. The Court also believes that maintaining


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his seasonal employment will reduce Mish’s likelihood of recidivism. And in the 45 days since

sentencing, Mish has been compliant with the conditions of his release (as he had been before

sentencing). While, for the reasons discussed at sentencing, a sentence of incarceration is

appropriate for Mish, the Court believes the requested extension is also appropriate.

       Accordingly, it is

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the Defendant shall report to the designated facility in Illinois on April

1, 2022, or at a subsequent date to be set by the United States Probation Office.


DATE: January 6, 2022
                                                             CARL J. NICHOLS
                                                             United States District Judge




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